      Case 1:18-md-02865-LAK            Document 283         Filed 03/02/20      Page 1 of 18




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 In re                                                         MASTER DOCKET
 CUSTOMS AND TAX ADMINISTRATION OF                             18-md-2865 (LAK)
 THE KINGDOM OF DENMARK
 (SKATTEFORVALTNINGEN) TAX REFUND
 LITIGATION                                                    THIRD-PARTY DEFENDANT
                                                               ED&F MAN CAPITAL
 This document relates to: 1:18-cv-05374 / 1:18-cv-            MARKETS LTD.’S ANSWER
 08655                                                         TO THIRD-PARTY
                                                               PLAINTIFFS DEL MAR ASSET
 DEL MAR ASSET MANAGEMENT SAVINGS                              MANAGEMENT SAVINGS
 AND RETIREMENT PLAN, FEDERATED                                AND RETIREMENT PLAN’S,
 LOGISTICS LLC 401K PLAN, and DAVID                            FEDERATED LOGISTICS LLC
 FREELOVE,                                                     401K PLAN’S, and DAVID
                                                               FREELOVE’S THIRD-PARTY
                     Third-Party Plaintiffs                    COMPLAINT
 v.

 ED&F MAN CAPITAL MARKETS LTD.,

                     Third-Party Defendant.



       Third-Party Defendant ED&F Man Capital Markets Ltd. (“ED&F”), for its Answer to the

Third-Party Complaint, dated November 12, 2019 (the “Third-Party Complaint”), by Third-Party

Plaintiffs Del Mar Asset Management Savings and Retirement Plan and Federated Logistics LLC

401K Plan and David Freelove (collectively, “Third-Party Plaintiffs”) by its attorneys, Akerman

LLP, alleges on knowledge as to its own acts and otherwise on information and belief, as follows:

       ED&F lacks knowledge or information sufficient to form a belief as to the truth or falsity

of any of the allegations that relate to any other Parties in this lawsuit, and therefore all responses

below pertain only to ED&F.          With respect to those allegations, including headings and

subheadings, that do not address or refer to the acts or omissions of ED&F, ED&F submits that no

response is required.
     Case 1:18-md-02865-LAK            Document 283      Filed 03/02/20      Page 2 of 18




       ED&F reserves its right to supplement its Answer and raise affirmative defenses that

become available or apparent during the course of discovery and to amend the Answer accordingly.

                                           ANSWER

                                       GENERAL DENIAL

       The preliminary statement of the Third-Party Complaint against ED&F is comprised of

arguments, legal conclusions, and unenumerated allegations or statements of fact to which no

response is required. To the extent a response is required, ED&F denies the allegations in the

preliminary statement.

                                RESPONSE TO “PARTIES”

       1.     ED&F admits the allegations of Paragraph 1 of the Third-Party Complaint.

       2.     ED&F admits the allegations of Paragraph 2 of the Third-Party Complaint.

       3.     ED&F admits the allegations contained in Paragraph 3 of the Third-Party

Complaint on information and belief.

       4.     ED&F denies each and every allegation contained in Paragraph 4 to the extent it

asserts a characterization of ED&F’s duties and obligations under the Agreements between the

parties, except to admit that ED&F is headquartered at 3 London Bridge Street, London, SE1 9SG,

United Kingdom.

       5.     ED&F denies each and every allegation contained in Paragraph 5.

                     RESPONSE TO “JURISDICTION AND VENUE”

       6.     Paragraph 6 of the Third-Party Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 6 of the Third-Party Complaint.

       7.     Paragraph 7 of the Third-Party Complaint asserts legal conclusions to which no




                                               2
     Case 1:18-md-02865-LAK           Document 283        Filed 03/02/20     Page 3 of 18




response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 7 of the Third-Party Complaint.

        8.     Paragraph 8 of the Third-Party Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 8 of the Third-Party Complaint.

                         RESPONSE TO “STATEMENT OF FACTS”

        The headings and subheadings under the Statement of Facts section of the Third-Party

Complaint contain legal conclusions or summarizing statements to which no response is required.

To the extent a response is required, ED&F denies each and every allegation in the headings and

subheadings under the Statement of Facts section of the Third-Party Complaint, to the extent those

statements imply or infer the existence of facts supporting one or more claims for relief against

ED&F.

        9.     ED&F admits the allegations of Paragraph 9 of the Third-Party Complaint.

        10.    The statements in Paragraph 10 of the Third-Party Complaint purport to describe

the referenced Agreements between the Parties and do not require a response. To the extent those

statements imply or infer the existence of facts supporting one or more claims for relief against

ED&F, they are denied.

        11.    ED&F admits the allegations of Paragraph 11 of the Third-Party Complaint.

        12.    The statements in Paragraph 12 of the Third-Party Complaint purport to describe

the referenced Agreements between the Parties and do not require a response. To the extent those

statements imply or infer the existence of facts supporting one or more claims for relief against

ED&F, they are denied.

        13.    The statements in Paragraph 13 of the Third-Party Complaint purport to describe




                                                3
      Case 1:18-md-02865-LAK           Document 283        Filed 03/02/20      Page 4 of 18




the referenced Agreements between the Parties and do not require a response. To the extent those

statements imply or infer the existence of facts supporting one or more claims for relief against

ED&F, they are denied.

       14.     ED&F admits the allegations of Paragraph 14 of the Third-Party Complaint.

       15.     ED&F admits the allegations of Paragraph 15 of the Third-Party Complaint.

       16.     The statements in Paragraph 16 are explanatory in nature and do not require a

response. To the extent those statements imply or infer the existence of facts supporting one or

more claims for relief against ED&F, they are denied.

       17.     The statements in Paragraph 17 are explanatory in nature and do not require a

response. To the extent those statements imply or infer the existence of facts supporting one or

more claims for relief against ED&F, they are denied.

       18.     The statements in Paragraph 18 are explanatory in nature and do not require a

response. To the extent those statements imply or infer the existence of facts supporting one or

more claims for relief against ED&F, they are denied.

       19.     ED&F admits the allegations of Paragraph 19 of the Third-Party Complaint.

       20.     The statements in Paragraph 20 of the Third-Party Complaint purport to describe

the referenced documents and do not require a response. To the extent those statements imply or

infer the existence of facts supporting one or more claims for relief against ED&F, they are denied.

       21.     The statements in Paragraph 21 of the Third-Party Complaint purport to describe

the referenced documents and do not require a response. To the extent those statements imply or

infer the existence of facts supporting one or more claims for relief against ED&F, they are denied.

       22.     The statements in Paragraph 22 of the Third-Party Complaint purport to describe

the referenced documents and do not require a response. To the extent those statements imply or




                                                 4
      Case 1:18-md-02865-LAK           Document 283         Filed 03/02/20      Page 5 of 18




infer the existence of facts supporting one or more claims for relief against ED&F, they are denied.

       23.     ED&F admits the allegations of Paragraph 23 of the Third-Party Complaint.

       24.     The statements in Paragraph 24 of the Third-Party Complaint purport to describe

the referenced Agreements between the Parties and do not require a response. To the extent those

statements imply or infer the existence of facts supporting one or more claims for relief against

ED&F, they are denied.

       25.     ED&F admits the allegations of Paragraph 25 of the Third-Party Complaint.

       26.     ED&F admits the allegations of Paragraph 26 of the Third-Party Complaint.

       27.     The statements in Paragraph 27 of the Third-Party Complaint purport to describe

the referenced documents and do not require a response. To the extent those statements imply or

infer the existence of facts supporting one or more claims for relief against ED&F, they are denied.

       28.     ED&F admits that Third-Party Plaintiffs attached Tax Vouchers as exhibits to their

Third-Party Complaint.

       29.     ED&F denies each and every allegation contained in Paragraph 29 of the Third-

Party Complaint.

       30.     Paragraph 30 of the Third-Party Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 30 of the Third-Party Complaint.

       31.     ED&F denies each and every allegation contained in Paragraph 31 of the Third-

Party Complaint.

       32.     ED&F admits that in some instances it sent the Tax Vouchers directly to Goal

Taxback Ltd. ED&F further responds that on other occasions it sent them directly to the authorized

agent for the pension plan client, and in the instances in which it sent the Tax Vouchers directly to




                                                 5
      Case 1:18-md-02865-LAK           Document 283         Filed 03/02/20      Page 6 of 18




Goal, it did so on the express instructions of the plan’s authorized agent. The remaining allegations

set forth in Paragraph 32 of the Third-Party Complaint do not address or refer to the acts or

omissions of ED&F and no response is required. To the extent a response is required, ED&F denies

each and every remaining allegation contained in Paragraph 32 of the Third-Party Complaint.

       33.     Paragraph 33 of the Third-Party Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 33 of the Third-Party Complaint.

       34.     The statements in Paragraph 34 of the Third-Party Complaint purport to describe

the referenced documents and do not require a response. To the extent those statements imply or

infer the existence of facts supporting one or more claims for relief against ED&F, they are denied.

       35.     Paragraph 35 of the Third-Party Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 35 of the Third-Party Complaint.

       36.     ED&F admits the allegations of Paragraph 36 of the Third-Party Complaint.

       37.     ED&F admits the allegations of Paragraph 37 of the Third-Party Complaint.

       38.     ED&F admits the allegations of Paragraph 38 of the Third-Party Complaint.

       39.     ED&F admits the allegations of Paragraph 39 of the Third-Party Complaint.

       40.     The statements in Paragraph 40 of the Third-Party Complaint purport to

characterize ED&F’s Amended Defense filed in September 2019 in the U.K. proceeding and do

not require a response. To the extent those statements imply or infer the existence of facts

supporting one or more claims for relief against ED&F, they are denied.

       41.     The statements in Paragraph 41 of the Third-Party Complaint purport to

characterize ED&F’s Amended Defense filed in September 2019 in the U.K. proceeding and do




                                                 6
      Case 1:18-md-02865-LAK           Document 283        Filed 03/02/20      Page 7 of 18




not require a response. To the extent those statements imply or infer the existence of facts

supporting one or more claims for relief against ED&F, they are denied.

       42.     ED&F denies each and every allegation contained in Paragraph 42 of the Third-

Party Complaint.

       43.     The statements in Paragraph 43 of the Third-Party Complaint purport to describe

the referenced documents and do not require a response. To the extent the statements imply or

infer the existence of facts supporting one or more claims for relief against ED&F, they are denied.

       44.     Paragraph 44 of the Third-Party Complaint asserts legal conclusions to which no

answer is required. To the extent the allegations imply or infer the existence of facts supporting

one or more claims for relief against ED&F, they are denied.

       45.     Paragraph 45 of the Third-Party Complaint asserts legal conclusions to which no

answer is required. To the extent the allegations imply or infer the existence of facts supporting

one or more claims for relief against ED&F, they are denied.

       46.     ED&F denies the allegations of Paragraph 46.

       47.     The allegations set forth in Paragraph 47 of the Third-Party Complaint do not

address or refer to the acts or omissions of ED&F and no response is required. To the extent the

allegations imply or infer the existence of facts supporting one or more claims for relief against

ED&F, they are denied.

       48.     The allegations set forth in Paragraph 48 of the Third-Party Complaint do not

address or refer to the acts or omissions of ED&F and no response is required. To the extent the

allegations imply or infer the existence of facts supporting one or more claims for relief against

ED&F, they are denied.

       49.     The allegations set forth in Paragraph 49 of the Third-Party Complaint do not




                                                 7
     Case 1:18-md-02865-LAK           Document 283        Filed 03/02/20      Page 8 of 18




address or refer to the acts or omissions of ED&F and no response is required. To the extent the

allegations imply or infer the existence of facts supporting one or more claims for relief against

ED&F, they are denied.

       50.     Paragraph 50 of the Third-Party Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 50 of the Third-Party Complaint.

       51.     The statements in Paragraph 51 are explanatory in nature and do not require a

response. To the extent those statements imply or infer the existence of facts supporting one or

more claims for relief against ED&F, they are denied.

       52.     ED&F admits the allegations of the first sentence of Paragraph 52 of the Third-

Party Complaint. The remaining statements in Paragraph 52 of the Third-Party Complaint purport

to characterize ED&F’s Amended Defense filed in September 2019 in the U.K. proceeding and do

not require a response. To the extent those statements imply or infer the existence of facts

supporting one or more claims for relief against ED&F, they are denied.

       53.     Paragraph 53 of the Third-Party Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 53 of the Third-Party Complaint.

                                        COUNT I
                                 (Fraud—The Plans v. ED&F)

       54.     ED&F repeats and realleges ¶¶ 1-53 above, as if fully set forth herein.

       55.     ED&F denies each and every allegation contained in Paragraph 55 of the Third-

Party Complaint.

       56.     ED&F denies each and every allegation contained in Paragraph 56 of the Third-

Party Complaint.



                                                8
     Case 1:18-md-02865-LAK           Document 283       Filed 03/02/20      Page 9 of 18




       57.    ED&F denies each and every allegation contained in Paragraph 57 of the Third-

Party Complaint.

       58.    ED&F denies each and every allegation contained in Paragraph 58 of the Third-

Party Complaint.

       59.    ED&F denies each and every allegation contained in Paragraph 59 of the Third-

Party Complaint.

                                         COUNT II
                                (Negligent Misrepresentation)

       60.    ED&F repeats and realleges ¶¶ 1-59 above, as if fully set forth herein.

       61.    Paragraph 61 of the Third-Party Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 61 of the Third-Party Complaint.

       62.    ED&F denies each and every allegation contained in Paragraph 62 of the Third-

Party Complaint.

       63.    ED&F denies each and every allegation contained in Paragraph 63 of the Third-

Party Complaint.

       64.    Paragraph 64 of the Third-Party Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 64 of the Third-Party Complaint.

       65.    ED&F denies each and every allegation contained in Paragraph 65 of the Third-

Party Complaint.

                                       COUNT III
                         (Breach of Contract – The Plans v. ED&F)

       66.    ED&F repeats and realleges ¶¶ 1-65 above, as if fully set forth herein.

       67.    Paragraph 67 of the Third-Party Complaint asserts legal conclusions to which no


                                                9
     Case 1:18-md-02865-LAK          Document 283         Filed 03/02/20    Page 10 of 18




response is required. To the extent a response is required, ED&F denies each and every allegation

contained in Paragraph 67 of the Third-Party Complaint.

       68.    Paragraph 68 of the Third-Party Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

contained in Paragraph 68 of the Third-Party Complaint.

       69.    Paragraph 69 of the Third-Party Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

contained in Paragraph 69 of the Third-Party Complaint.

       70.    ED&F denies each and every allegation contained in Paragraph 70 of the Third-

Party Complaint as it relates to ED&F.

       71.    Paragraph 71 of the Third-Party Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 71 of the Third-Party Complaint.

                                       COUNT IV
                (Breach of Fiduciary Duty—Third-Party Plaintiffs v. ED&F)

       72.    ED&F repeats and realleges ¶¶ 1-71 above, as if fully set forth herein.

       73.    ED&F denies each and every allegation of Paragraph 73 of the Third-Party

Complaint.

       74.    ED&F denies each and every allegation contained in Paragraph 74 of the Third-

Party Complaint.

       75.    Paragraph 75 of the Third-Party Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 75 of the Third-Party Complaint.

       76.    Paragraph 76 of the Third-Party Complaint asserts legal conclusions to which no



                                                10
     Case 1:18-md-02865-LAK           Document 283         Filed 03/02/20         Page 11 of 18




response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 76 of the Third-Party Complaint.

       77.     Paragraph 77 of the Third-Party Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 77 of the Third-Party Complaint.

       78.     Paragraph 78 of the Third-Party Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 78 of the Third-Party Complaint.

                                      COUNT V
                 (Promissory Estoppel—Third-Party Plaintiffs v. ED&F)

       79.     ED&F repeats and realleges ¶¶ 1-78 above, as if fully set forth herein.

       80.     ED&F denies each and every allegation contained in Paragraph 80 of the Third-

Party Complaint to the extent it asserts a characterization of Agreements between the parties, and

respectfully refers the Court to the Agreements for their contents, in context.

       81.     ED&F denies each and every allegation contained in Paragraph 81 of the Third-

Party Complaint to the extent it asserts a characterization of Agreements between the parties, and

respectfully refers the Court to the Agreements for their contents, in context.

       82.     ED&F denies each and every allegation contained in Paragraph 82 of the Third-

Party Complaint.

       83.     Paragraph 83 of the Third-Party Complaint asserts a legal conclusion to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 83 of the Third-Party Complaint.

       84.     Paragraph 84 of the Third-Party Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, ED&F denies each and every allegation



                                                 11
     Case 1:18-md-02865-LAK            Document 283       Filed 03/02/20      Page 12 of 18




of Paragraph 84 of the Third-Party Complaint.

       85.     Paragraph 85 of the Third-Party Complaint asserts a legal conclusion to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 85 of the Third-Party Complaint.

       86.     Paragraph 86 of the Third-Party Complaint asserts a legal conclusion to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 86 of the Third-Party Complaint.

                                       COUNT VI
                    (Unjust Enrichment—Third-Party Plaintiffs v. ED&F)

       87.     ED&F repeats and realleges ¶¶ 1-86 above, as if fully set forth herein.

       88.     ED&F admits the allegations of Paragraph 88 of the Third-Party Complaint.

       89.     ED&F denies each and every allegation contained in Paragraph 89 of the Third-

Party Complaint to the extent it asserts a characterization of ED&F’s Amended Defense filed in

September 2019 in the U.K. proceeding, and respectfully refers the Court to that pleading, in

context.

       90.     ED&F denies each and every allegation contained in Paragraph 90 of the Third-

Party Complaint to the extent it asserts a characterization of SKAT’s allegations against the Plans,

and respectfully refers the Court to those allegations.

       91.     Paragraph 91 of the Third-Party Complaint asserts a legal conclusion to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 91 of the Third-Party Complaint.

       92.     ED&F admits the allegations in Paragraph 92.




                                                 12
     Case 1:18-md-02865-LAK           Document 283         Filed 03/02/20      Page 13 of 18




       93.     Paragraph 93 of the Third-Party Complaint asserts a legal conclusion to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 93 of the Third-Party Complaint.

                                        COUNT VII
                (Equitable Indemnification—Third-Party Plaintiffs v. ED&F)

       94.     ED&F repeats and realleges ¶¶ 1-93 above, as if fully set forth herein.

       95.     Paragraph 95 of the Third-Party Complaint asserts a legal conclusion to which no

response is required. To the extent a response is required, ED&F denies knowledge or

information sufficient to form a belief as to the truth of each and every allegation contained in

Paragraph 95 of the Third-Party Complaint.

       96.     ED&F denies each and every allegation contained in Paragraph 96 of the Third-

Party Complaint to the extent it asserts a characterization of SKAT’s allegations against ED&F.

       97.     Paragraph 97 of the Third-Party Complaint asserts a legal conclusion to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 97 of the Third-Party Complaint.

                                      COUNT VIII
                       (Contribution—Third-Party Plaintiffs v. ED&F)

       98.     ED&F repeats and realleges ¶¶ 1-97 above, as if fully set forth herein.

       99.     Paragraph 99 of the Third-Party Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

in Paragraph 99 of the Third-Party Complaint.

       100.    ED&F denies each and every allegation in Paragraph 100 of the Third-Party

Complaint to the extent it asserts a characterization of SKAT’s allegations against ED&F.




                                                 13
     Case 1:18-md-02865-LAK              Document 283        Filed 03/02/20      Page 14 of 18




          101.    Paragraph 101 of the Third-Party Complaint asserts a legal conclusion to which no

response is required. To the extent a response is required, ED&F denies each and every allegation

of Paragraph 101 of the Third-Party Complaint.

                                 FIRST AFFIRMATIVE DEFENSE

          102.    To the extent Third-Party Plaintiffs are injured, which ED&F denies, such damage

was caused, in whole or in part, by Third-Party Plaintiffs’ own acts or omissions and/or the acts or

omissions of other parties, including, but not limited to, negligence.

                               SECOND AFFIRMATIVE DEFENSE

          103.    To the extent that Third-Party Plaintiffs have been damaged or injured, which

ED&F denies, such damage was caused in whole or in part, or increased by, Third-Party Plaintiffs’

failure to mitigate damages.

                                THIRD AFFIRMATIVE DEFENSE

          104.    Third-Party Plaintiffs’ claims may be barred, in whole or in part, by the doctrine of

waiver.

                               FOURTH AFFIRMATIVE DEFENSE

          105.    Third-Party Plaintiffs’ claims may be barred, in whole or in part, by the doctrine of

unclean hands.

                                 FIFTH AFFIRMATIVE DEFENSE

          106.    Third-Party Plaintiffs’ claims may be barred, in whole or in part, by the doctrines

of collateral estoppel, claim preclusion and res judicata.

                                SIXTH AFFIRMATIVE DEFENSE

          107.    Third-Party Plaintiffs’ claims are barred, in whole or in part, by applicable statute

of limitations.




                                                   14
     Case 1:18-md-02865-LAK            Document 283        Filed 03/02/20     Page 15 of 18




                            SEVENTH AFFIRMATIVE DEFENSE

       108.     Third-Party Plaintiffs’ claims are barred, in whole or in part, by the doctrine of

laches and estoppel.

                             EIGHTH AFFIRMATIVE DEFENSE

       109.     Third-Party Plaintiffs, by their own actions and conduct, have failed to exercise

reasonable care and diligence on their own behalf, thereby causing or contributing to its alleged

injuries and damages, if any. Third-Party Plaintiffs’ recovery must therefore be reduced or

eliminated altogether by the proportion of damages caused by its acts and conduct.

                              NINTH AFFIRMATIVE DEFENSE

       110.     Any damages sustained by Third-Plaintiffs as alleged in the Third-Party Third-

Party Complaint were caused, in whole or in part, by the culpable conduct of other third-parties,

over which ED&F had no control, and not as a result of any culpable conduct on the part of ED&F.

                              TENTH AFFIRMATIVE DEFENSE

       111.     The Court lacks personal jurisdiction over ED&F.

                           ELEVENTH AFFIRMATIVE DEFENSE

       112.     Venue is improper because the parties agreed to a specific venue.

                            TWELFTH AFFIRMATIVE DEFENSE

       113.     The claims asserted by Third-Party Plaintiffs directly contradict the explicit terms

of the relevant agreements by and between Third-Party Plaintiffs and ED&F, and should therefore

be dismissed.

FIRST COUNTER-CLAIM AGAINST THIRD-PARTY PLAINTIFFS DEL MAR ASSET
    MANAGEMENT SAVINGS AND RETIREMENT PLAN AND FEDERATED
                    LOGISTICS LLC 401(K) PLAN
                         (Indemnification)

       114.     ED&F repeats and realleges ¶¶ 1-113 above, as if fully set forth herein.



                                                 15
      Case 1:18-md-02865-LAK            Document 283         Filed 03/02/20       Page 16 of 18




          115.   In 2013 and 2014, the Plans and ED&F entered into Custody Agreements (the

“Agreements”) that established ED&F’s contractual obligations as the Custodian for each of the

Plans. The Agreements set forth the Terms and Condition of Business between ED&F as the

Custodian and Del Mar Asset Management Savings and Retirement Plan (the “Del Mar Plan”) and

Federated Logistics LLC 401K Plan (the “Federated Plan”) (collectively, the “Plans”) as the

Client.

          116.   The Plans’ Custody Agreements with ED&F are attached hereto as Exhibits A and

B.1

          117.   Pursuant to the binding terms of the Agreement, the Plans maintained

“responsibility for the selection, acquisition and disposal of the Client Property.” (Exs. A and B,

at 11(m)).

          118.   Client Property is defined as (i) “any securities (including evidence thereof,

evidence of title thereto and all rights in respect thereof) deposited or transferred by the Client or

on the Client’s behalf to the Custodian or a Sub-Custodian or collected by the Custodian or a Sub-

Custodian for the Client’s account”; and (ii) all “cash in any currency arising out of or in

connection with the Client securities and any amounts standing to the credit of the Client Cash

Account.” (Exs. A and B, at 1.1)

          119.   ED&F and the Plans explicitly agreed that ED&F “does not act as manager or

investment advisor to” the Plans. (Exs. A and B, at 11(m)).

          120.   In accordance with the parties’ respective obligations under the Agreement, the

Plans conceived, structured, and directed each Danish Securities transaction that ED&F executed

on behalf of the Plans.


1
 The parties to the Del Mar agreement are ED&F Man and Hamlyn LP. Del Mar was a limited partner in Hamlyn
LP.


                                                   16
     Case 1:18-md-02865-LAK            Document 283         Filed 03/02/20       Page 17 of 18




        121.    Pursuant to the Agreement, the Plans agreed to indemnify ED&F “fully and

effectively [] against each liability, loss and cost which may be suffered or incurred by” ED&F in

connection with “the Client Property, this Agreement, or the performance of [ED&F’s] obligations

under this Agreement.” (Exs. A and B, at 16(a)(i)).

        122.    The Plans also agreed to indemnify ED&F “fully and effectively” against “any Tax

for which [ED&F] is or may be liable or accountable in connection with the Client Property, this

Agreement or the performance of [ED&F’s] obligations under this Agreement (including without

limitation the purchase and/or sale of Client Securities, the collection and/or realisation of coupons,

dividends, interest or other payments, the receipt of or entitlement to receive any income, and the

Custodian acting as or being deemed to be a trustee, branch, or agent of the Client).” (Exs. A and

B, at 16(a)(ii)).

        123.    Thus, while ED&F denies any and all liability, in the event that judgment is entered

against it in any action or proceeding, either in this jurisdiction, in the English Action, or in any

other proceedings based upon the tax reclaim applications submitted by or on behalf of the Third-

Party Plaintiffs for the transactions in Danish Securities executed by ED&F Man at their direction,

ED&F is entitled to complete indemnification by the Plans pursuant to the Agreement, including

for all costs incurred, as ED&F fully satisfied its obligations therein.

                                         JURY DEMAND

        ED&F demands a jury trial on all issues so triable.

                                    REQUEST FOR RELIEF

        WHEREFORE, Third-Party Defendant ED&F Man Capital Markets Ltd. respectfully

requests that this Court enter judgment against Third-Party Plaintiffs Del Mar Asset Management




                                                  17
     Case 1:18-md-02865-LAK              Document 283        Filed 03/02/20       Page 18 of 18




Savings and Retirement Plan, Federated Logistics LLC 401K Plan, and David Freelove, as

follows:

             i.   Dismissing the Third-Party Third-Party Complaint as against ED&F in its entirety;

           ii.    Judgment in favor of ED&F against the third-party plaintiffs;

           iii.   Judgment ordering full and complete indemnification should ED&F be found liable

                  to any extent;

           iv.    An award of reasonable attorneys’ fees and costs; and

            v.    Such other and further relief as the Court deems just and appropriate.



Dated:      New York, New York                  AKERMAN LLP
            March 2, 2020
                                                /s/ Brian S. Fraser_______
                                                Brian S. Fraser (brian.fraser@akerman.com)
                                                Kristen G. Niven (kristen.niven@akerman.com)
                                                666 Fifth Avenue, 20th Floor
                                                New York, New York 10103
                                                Tel. (212) 880-3800
                                                Fax (212) 905-6458
                                                Attorneys for Defendant ED&F Man
                                                Capital Markets Ltd.




                                                  18
